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               EXHIBIT A
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                Help Center (https://help.twitter.com/)




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                         Using X (https://help.twitter.com/en/using-x)
                         Managing your account (https://help.twitter.com/en/managing-your-account)
                         Safety and security (https://help.twitter.com/en/safety-and-security)
                         Rules and policies (https://help.twitter.com/en/rules-and-policies)

                           Resources
                              New user FAQ (https://help.twitter.com/en/resources/new-user-faq)
                              Glossary (https://help.twitter.com/en/resources/glossary)
                              A safer X (https://help.twitter.com/en/resources/a-safer-twitter)
                              Accessibility (https://help.twitter.com/en/resources/accessibility)

                                  Our rules (https://help.twitter.com/en/resources/rules)
                                  My privacy (https://help.twitter.com/en/resources/how-you-can-control-your-privacy)
                                  How we address misinformation on X
                                  (https://help.twitter.com/en/resources/addressing-misleading-info)
                                  Recommender Systems (https://help.twitter.com/en/resources/recommender-
                                  systems)




                         Go to Twitter (https://twitter.com)
                         Sign out (https://twitter.com/logout?redirect after logout=https://help.twitter.com/en/using-
                         x/direct-messages#video)




                Contact Us (https://help.twitter.com/forms.html)


                     1. About Direct Messages


                About Direct Messages

                     1. Help Center                (https://help.twitter.com/)

                     2. Direct Messages                     (https://help.twitter.com/en/using-x#direct-messages)




                About Direct Messages
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                As a Creator (https://help.twitter.com/using-x/subscriptions-creator#how) on 𝕏, as of Sept 28,
                2023 you can now opt-in to allow messages from your subscribers. This feature is
                disabled by default, but you can enable it on the Messaging Settings page.
                Direct Messages are the private side of X. You can use Direct Messages to have
                private conversations with people about posts and other content.




                The basics

                To send a Direct Message from X for iOS

                To send a Direct Message from X for Android

                To send a Direct Message via the web

                To pin Direct Messages

                To search Direct Messages

                To snooze Direct Message notifications

                To report a Direct Message or conversation

                To share a post via Direct Message

                To receive Direct Messages from anyone

                To review Direct Message requests

                To disable Direct Message read receipts

                To send and receive Direct Messages on your phone via SMS

                Some important things to know about Direct Messages




                The basics



https://help.twitter.com/en/using-x/direct-messages#video                                                                   3/22
